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JUN 6, 2025
Attorney Generali: "Abrego Garcia has landed in the U.S. to face justice."
Attorney General Pam Bondi: "Abrego Garcia has landed in the United States to face justice...This
is what American justice looks like. Upon completion of his sentence we anticipate he will be
returned to his home country of El Salvador. The grand jury ...



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Senator Schumer reacts to SCOTUS decision gender affirming care ban in Tennessee




TRENDING
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JUL 2, 2025
U.S. House of Representatives
The House will consider the Senate-passed GOP tax and spending cuts bill with the goal of
getting it to President Trump's desk for his signature by Friday, July 4.



JUL 2, 2025
Washington Journal: Open Forum
Viewers commented on the pending House vote on the Senate-passed Republican tax and
spending cuts bill.



JUL 1, 2025
House Rules Committee Considers Tax and Spending Cuts Reconciliation Bill
The House Rules Committee advanced a rule for the Senate-passed version of tax and spending
cuts bill with a vote of 7-6. Two Republicans, Representatives Ralph Norman (R-SC) and Chip Roy
(R-TX), voted with Democrats against advancing the rule.



JUL 2, 2025
House Democratic Leaders Hold News Conference
House Democratic Leader Hakeem Jeffries (NY) and other Democrats spoke to reporters as the
House prepared to consider final passage of the GOP's tax and spending cuts legislation, which
the Democratic leaders said they opposed due to significant cuts ...
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